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CLERK'S OFFICE U.8, GIST, COURT
AT CHARLOT PEOVaLE, VA

UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF VIRGINIA
Charlottesville Division

 

John T. Nelson

c/o 1901 East Franklin Street, Suite 107
Richmond, Virginia 23223

 

Plaintiff,
v. Civil Action No. 3:06cv00070
Lori Green
Albemarle County Department of Social Services
1600 5" Street, Ext.
Suite A
Charlottesville, Virginia 22902

Cindy Casey

Albemarle County Department of Social Services
1600 5™ Street, Ext.

Suite A

Charlottesville, Virginia 22902

John Freeman

Albemarle County Department of Social Services
1600 5" Street, Ext.

Suite A

Charlottesville, Virginia 22902

Kathy Ralston

Albemarle County Department of Social Services
1600 5" Street, Ext.

Suite A

Charlottesville, Virginia 22902

Viola Vaughn-Eden

610 Thimble Shoals Blvd
Suite 301 D

Newport News, Virginia 23606

Defendants.

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FIRST AMENDED COMPLAINT

Plaintiff John T. Nelson submits this First Amended Complaint pursuant to 42
U.S. C. §§ 1983 and 1985 to seek redress for Defendants’ violations, under color of state
law, of his liberty interest in his relationship with his child and to seek redress for the
malicious prosecution to which the Defendants subjected him. In support thereof, he
states as follows.

INTRODUCTION

1. Beginning in December of 2004, four of the Defendants, employees of the
Albemarle County Department of Social Services, did not simply botch an investigation
into highly dubious allegations of child abuse, they used their official positions and the
profound powers afforded to them to ignore clear evidence of false allegations, prejudge
a father falsely, produce tainted evidence, violate state laws and court orders, and
vindictively impair a father’s relationship with his child based upon their own tainted
evidence. This case challenges the conduct of a child abuse investigation by these four
Defendants as well as the actions of the psychologist who acted at their direction to
produce a false and unreliable report of abuse. The Complaint alleges that the Defendants
engaged in willful, intentional and grossly negligent conduct in an effort to establish a
false finding that Plaintiff had sexually abused his child. Defendants’ evidence
underlying the false finding was deemed “tainted” by the Albemarle County Juvenile and
Domestic Relations Court and subsequently was reversed by the Virginia Department of
Social Services on a finding that Defendants “did not even come close to proving [their]

case by a preponderance of the evidence.” Defendants ignored these and other judicial
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findings, as well as markers all along the way, and exercised their administrative powers
to vindicate their unreasonable and false finding and their own mistakes at all cost.

JURISDICTION & VENUE
2. This case arises under the United States Constitution and the laws of the United
States and presents a federal question within this Court’s jurisdiction under Article II of
the Constitution and 28 U.S.C. § 1331 and 28 U.S.C. § 1343(3). This action is brought
pursuant to 42 U.S.C. §§ 1983 and 1985 as an action to redress the deprivation under
color of state law rights secured by the United States Constitution.
3. The Court has jurisdiction over the malicious prosecution claim pursuant to 28
U.S.C. § 1367(a) because the claim is so related to the federal constitutional claims that
they form part of the same case or controversy.
4, The Court has authority to award costs and attorneys’ fees pursuant to 28 U.S.C. §
1988.
5. Venue is proper in this district pursuant to 28 U.S.C. § 1391(b).

THE PLAINTIFF

6. The Plaintiff, John T. Nelson, resides in Nelson County, Virginia. Mr. Nelson is
the father of Sarah Doe, a 6 year old girl, who resides with her mother in Albemarle
County. Mr. Nelson shares joint legal custody for the child with the mother, Cathy Doe.
(All three of these names are pseudonyms, used to protect the privacy interests of the
Plaintiff, his child and his child’s mother. The true identity of these individuals is well-
known to the Defendants and is disclosed to the Court in the Memorandum in Support of
Motion for Leave to Proceed Under Pseudonyms, filed simultaneously herewith under

seal.) He has been engaged in his child’s life since birth and has supported her financially
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at all times. Until December of 2004, when Defendants’ intervened in the relationship,
Mr. Nelson and his daughter enjoyed an excellent and loving relationship.

THE DEFENDANTS
7. The named Defendants are all employees or individuals acting as agents of the
Albemarle County Department of Social Services who have played decision-making roles
in an investigation of child abuse allegations against Mr. Nelson from December of 2004
until July 14, 2006, when an appellate decision by the Commonwealth of Virginia
Department of Social Services dismissed certain Defendants’ erroneous findings, and
each has continued to play a role in making decisions that have continued to deny Mr.
Nelson and his daughter time together since July 14, 2006. Each is sued in both their
individual and official capacities.
8. Defendant Lori Green serves as a case worker for Child Protective Services, an
office of the Albemarle Department of Social Services. Ms. Green has served as the lead
CPS case worker in the two-year process that began in December of 2004 and continues
to deny Mr. Nelson his parental interests with his child to the present time.
9. Defendant Cindy Casey serves as Defendant Green’s direct supervisor in the
Child Protective Services office, an office of the Albemarle Department of Social
Services. Ms. Casey has served as Ms. Green’s supervisor throughout the two-year
process that began in December of 2004 and continues to deny Mr. Nelson his parental
interests with his child to the present time.
10. | Defendant Kathy Ralston serves as Director of the Albemarle Department of

Social Services. Ms. Ralston has served in that capacity throughout the two-year process
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that began in December of 2004 and continues to deny Mr. Nelson his parental interests
with his child to the present time.
11. Defendant John Freeman serves as Assistant Director of the Albemarle
Department of Social Services. Mr. Freeman has served in that capacity throughout the
two-year process that began in December of 2004 and was the person who reviewed the
work and the false finding of Ms. Green and Ms. Casey and refused to correct their
misconduct and finding, and he continues to deny Mr. Nelson his parental interests with
his child to the present time.
12. Defendant Viola Vaughn Eden is a psychological evaluator in private practice in
Newport News, Virginia. Ms. Vaughn Eden undertook a psychological evaluation of
Plaintiff’s child at the request of Defendant Green and followed directions provided by
Defendant Green. Defendant is alleged to be a state actor as a result of the actions she
took at the request and direction of one or more Defendants.

FACTUAL ALLEGATIONS
13. The acts constituting the basis for the causes of action asserted herein occurred in
December 2004 and continued through the filing of this action.
14. The Defendants acted individually and/or in concert to subject the Plaintiff to
false charges of child abuse, knowing that such charges were false and/or with reckless
disregard for their truth or falsity.
15. During said period, the Defendants acted individually and/or in concert to procure
a “psychological evaluation” of the Child to serve as the basis for bringing charges of

child abuse against the Plaintiff, and they procured such evaluation under circumstances
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where they knew such evaluation would be false and unreliable, and/or with reckless
disregard for the truth or reliability of the evaluation.

16. Defendants procured an unreliable and dubious “psychological evaluation” of the
Child in violation of Jaws, specific court orders related to the Child and professional
standards.

17. Defendants then used that “psychological evaluation” of the Child to subject the
Plaintiff to an investigation for child abuse conducted by the Albemarle County
Department of Social Services, the agency where the Defendants are employed. The
Defendants made such use of the “psychological evaluation” knowing such evaluation
was false and unreliable, and/or with reckless disregard for the truth or reliability of the
evaluation.

18. At several times after procuring the false “psychological evaluation,” Defendants
were presented numerous credible express refutations of it as well as other clear evidence
of its false nature which they intentionally and/or with gross negligence ignored. This
included a complete hearing by the Albemarle County Juvenile & Domestic Relations
Court (“JDR Court”) which concluded the “psychological evaluation” was “tainted” and
inadequate to support a finding that the Plaintiff had abused his child.

19. Notwithstanding the JDR Court’s ruling, Defendants proceeded to render an
administrative “founded” disposition against the Plaintiff on the basis of the false,
unreliable and “tainted” “psychological evaluation” they themselves had procured thru
false and unreliable measures.

20. The direct and proximate result of the false and unreliable “psychological

evaluation” procured by Defendants, as well as other intentional acts undertaken by the
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Defendants, was that a “founded” disposition, Level 1, the most serious finding that can
be made, was rendered against the Plaintiff.

21. | Under Virginia law, a "founded" disposition of child abuse carries with it great
and heavy burdens on the liberty of the person and family of the person who is the
subject of the finding. The person and the child are stigmatized in a way that
permanently interferes with their familial relationship in public and private quarters. The
person's name is placed on a central registry of abusers. The "founded" disposition may
form the basis for severe punishment of the individual and treatment of his relationship
with his child by the Department of Social Services and its personnel. In this case,
Defendants based severe restrictions on Plaintiff's visitation with his child (less than 3
hours of supervised time each week for two years) upon their false "founded" disposition.
22. Further, the Defendants made use of their “founded” disposition to: a) attempt to
prejudice court proceedings against Mr. Nelson , b) prejudice Mr. Nelson with the
Child’s CASA advocates, c) prejudice Mr. Nelson with the Child’s daycare school where
he was an active participant, d) prejudice Mr. Nelson with the Child’s current school
where the Child’s teacher and administrators know of the Defendants’ finding against the
Plaintiff and where the Plaintiff must always have a supervisor present with him so as to
essentially cut him out of his Child’s education activities, e) provide false justification for
the Defendants’ refusal to enforce court issued protective orders against Cathy Doe, f)
assist Cathy Doe in furthering her career as a “child abuse” advocate and g) prejudice Mr.
Nelson with professional evaluators, who were appointed in subsequent judicial
proceedings, in order to taint their view of the Mr. Nelson before they conducted their

independent assessment and work.
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23. The “founded” disposition was absolutely false. At no time did Mr. Nelson ever
abuse his child in any way.
24. +A neutral hearing officer thereafter overturned the “founded” disposition, ruling
that the “psychological evaluation” was unreliable in part due to actions taken by the
Defendants and further that Defendants “did not even come close to proving [their] case
by a preponderance of the evidence.” This decision by the hearing officer represented the
first time the allegation of child abuse had been presented to a judicial or quasi-judicial
official for consideration of the merits of the charge.
25. Notwithstanding said vindication, Defendants’ actions caused the Plaintiff to
suffer great loss and damage, including loss of precious time with his child, his bond with
his child, attorneys’ fees and other expenses incurred in his effort to restore his
relationship with his child, and significant emotional pain and trauma for both Plaintiff
and the child.
26. The aforesaid actions by the Defendants were undertaken unlawfully, with bad
faith and/or with malice or gross negligence, as shown inter alia by the allegations of
sub-paragraphs a through q:

a. Defendants intentionally violated § 16 of the Custody Order, dated August
10, 2004, entered by the Albemarle County Juvenile & Domestic Relations Court (“the
JDR Court’) by failing to inform or consult the court-appointed therapist, Wendy Carroll,
before taking Mr. Nelson’s child to Defendant Vaughan-Eden in Newport News,

Virginia, for wholly unnecessary forensic evaluation.
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b. Defendants intentionally violated { 19 of the Custody Order, dated August
10, 2004, entered by the JDR Court by failing to accompany Mr. Nelson’s child on all
visits to the forensic evaluator in Newport News.

c. Defendant Green intentionally tainted and distorted the child’s
psychological evaluation by directing the evaluator to ignore all collateral information in
the case except for certain prejudicial and false assertions about the Plaintiff by
Defendant Green and Cathy Doe. Defendant Green knew that a comprehensive review of
all collateral information was necessary to produce an accurate and reliable evaluation of
the child. Defendant Vaughn Eden has testified under oath that she asked Defendant
Green for all collateral information regarding the case history, which was required for a
fair and accurate evaluation of the child set forth by The National Children’s Advocacy
Center in Huntsville, Alabama, also known as the “Huntsville Model”, the applicable
professional standards for such forensic evaluation. Defendant Green directed Defendant
Vaughn Eden to ignore all collateral information in disregard of the well-established
Huntsville Model for evaluating children.

d. Defendant Green allowed the Cathy Doe to provide the psychological
evaluator information about the Plaintiff that Defendant Green known to be false and
highly prejudicial. Defendant Vaughn Eden accepted this one-sided information at the
direction of Defendant Green and in violation of well-established protocols for evaluating
children. Defendant Green has testified that she was aware of the falsity of some of the
information the mother provided to Defendant Vaughn Eden at the outset of the child’s

evaluation.
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e. Defendant Vaughn Eden conducted grossly negligent evaluations of the
child by violating well-established protocols, failing to sufficiently document sessions,
and traumatizing the child. Defendant Green has testified under oath that Vaughan-Eden
did not collect collateral information and case history related to the Child in accordance
with the Huntsville Forensic Evaluation Model, the evaluation model that Vaughan-Eden
claims to have received her professional training.

f. Defendant Green provided Cathy Doe 24 hours notice and opportunity to
“coach” the child before she met with the child to obtain a “disclosure” of abuse by the 4-
year old child — knowing that the mother was a long time suspect of coaching by prior
professionals appointed to this matter.

g. Defendant Green violated state law and regulations in interviewing the
child by failing to audiotape the interview or to properly invoke and document an
exception to audio-taping. Audio-taping of interviews of children in investigations of
abuse is required to protect alleged abusers, children, and the accuracy of disclosures.
Defendant Green intentionally denied Plaintiff and his child this protection.

h. Defendants ignored numerous allegations, complaints and reports by
several objective and professional sources of “coaching” and/or false allegations of abuse
by the mother — all in an effort to prove abuse by the father at all costs. Defendant Green
stated to one such professional that she would not investigate the professional’s
allegations of psychological harm or coaching by Cathy Doe because Defendant Green
was only interested in pursuing allegations against the Plaintiff.

i. Defendants failed to protect the child from numerous intrusive and

traumatic medical and psychological evaluations instigated by Cathy Doe, and even
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traumatized the child themselves — all in an effort to prove abuse by the Plaintiff at all
costs. For example, the Defendants were aware and actively assisted Cathy Doe in
willfully violating a JDR protective order by secretly tape recording the JDR Court’s
appointed therapist, Emily Blankinship, for the Child in order to remove Ms. Blankinship
from the case (because Ms. Doe was made aware that Ms. Blankinship had serious doubts
about the allegations against the Plaintiff and serious concerns about Ms. Doe). Because
of Ms. Blankinship’s view, Defendants wanted her removed from the case.

j. The numerous intrusive and traumatic medical evaluations of the child
never produced any physical evidence of abuse of the child. Defendants have ignored
this fact from 2004 to the present. Defendant Green has testified that there is no physical
evidence of abuse regarding the Child.

k. Defendants intentionally violated a JDR Court Protective Order, dated
November 1, 2005, entered by the JDR Court by aiding and abetting the child’s mother’s
efforts to disrupt the child’s therapeutic relationship with Court-appoint therapist and
thereafter concealing the mother’s interference from the Court-appointed or the JDR
Court.

1. Defendants failed to protect the child and Plaintiff from the mother’s
patent violation of the JDR Court’s Protective Order in interfering with the therapeutic
relationship. Since that time, Defendants completely and intentionally failed to provide
the child any replacement therapy, notwithstanding their assertion that she is the victim of
abuse.

m. Defendants supported the mother’s violation of the JDR Court’s protective

order requiring that the child remain at a designated daycare facility.
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n. Defendants violated 22 VAC 40-705-110(B) by failing to conduct a “risk
assessment” following their determination that the father was “founded.” Such a “risk
assessment” required, among other things, that Defendants analyze all “evidence gathered
during the investigation” and its “reliability and importance.” Defendants intentionally
failed to perform this assessment.

oO. Notwithstanding copious evidence that the mother made false allegations
of abuse, Defendants continued to persecute the Plaintiff and to ignore any violation of
the JDR Court’s orders by the mother. Defendants also ignored all allegations of
misconduct by the mother and refused to investigate any such allegations or to refer such
allegations to another office.

p. Defendants have for two years ignored several professional analyses and
reports supporting the Plaintiff's evidence, including the favorable results of an Abel
Assessment of Sexual Interest conducted by Defendants’ own expert, a lie detector test,
and the assessments of several Court-appointed therapists who concluded the child had a
very positive relationship with Plaintiff inconsistent with allegations of abuse. Upon
learning that Plaintiff had been administered and passed an Abel exam, Defendant Green
contacted the expert who administered it to express her displeasure that Plaintiff took the
Abel.

q- Notwithstanding the vindication of Plaintiff by the hearing officer,
Defendants have continued to engage in intentional and willful actions to restrict

Plaintiff's familial relationship with his child.
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CAUSE(S) OF ACTION
Count I - Substantive Due Process/Deprivation of Liberty/§ 1983

27. The allegations in paragraphs 1 through 26 are incorporated by reference.
28. Defendants, acting under color of state law, have violated Mr. Nelson’s liberty
interest, afforded by the Fourteenth Amendment to the United States Constitution, in his
parental and familial relationship with his child by engaging in a prolonged pattern of
intentional, arbitrary, egregious, and grossly negligent official conduct.
29. As a direct result of Defendant’s misconduct, Mr. Nelson’s child has been
subjected to psychological traumas, Mr. Nelson was subjected to false findings of abuse,
Mr. Nelson and his daughter were and continue to be prohibited from seeing each other
and maintaining a familial relationship at great emotional pain to both, and Mr. Nelson
has been forced to endure the most unspeakable false allegations and legal expenses to
prove his innocence against a wholly prejudicial governmental intrusion.

Count I — Conspiracy to Deprive Plaintiff of Liberty Interest/§ 1985
30. The allegations in paragraphs 1 through 26 are incorporated by reference.
31. | Defendants, acting under color of state law, conspired and acted in concert to
violate Mr. Nelson’s liberty interest, afforded by the Fourteenth Amendment to the
United States Constitution, in his parental and familial relationship with his child by
engaging in a prolonged pattern of intentional, arbitrary, egregious, and grossly negligent
official conduct.
32. As a direct result of Defendant’s misconduct, Mr. Nelson’s child has been

subjected to psychological traumas, Mr. Nelson was subjected to false findings of abuse,
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Mr. Nelson and his daughter were and continue to be prohibited from seeing each other
and maintaining a familial relationship at great emotional pain to both, and Mr. Nelson
has been forced to endure the most unspeakable false allegations and legal expenses to
prove his innocence against a wholly prejudicial governmental intrusion.

Count Tl — Malicious Prosecution

 

33. The allegations in paragraphs 1 thru 26 are incorporated by reference.
34. Defendants, individually and collectively, initiated and continued legal process
against the Plaintiff based upon allegations of child abuse they knew to be false or
unreliable.
35. As a direct result of Defendant’s misconduct, Mr. Nelson has been forced to
endure the most unspeakable false allegations and legal expenses to prove his innocence
against a wholly excessive governmental use of legal process.
PRAYER FOR RELIEF
WHEREFORE, Plaintiff respectfully prays for an Order:
a. Awarding Plaintiff $2,000,000 in monetary damages.
b. Awarding Plaintiff $2,000,000 in punitive damages.
c. Enjoining Defendants from any further violations of Plaintiff's liberty
interest in his familial relationship with his child.
d. Awarding Plaintiff attorneys’ fees, costs and expenses pursuant to 42
U.S.C. § 1988 and other provisions of law.
e. Granting Plaintiff such other relief as the Court deems just and proper or

may be allowed by law.
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TRIAL BY JURY IS DEMANDED.

Respectfully submitted,

By Counsel,

Vr

 

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